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                              THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

 FAYETTEVILLE PUBLIC LIBRARY, a political subdivision
 in the City of Fayetteville, State of Arkansas;
 EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
 CENTRAL ARKANSAS LIBRARY SYSTEM;
 NATE COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
 MIEL PARTAIN, in her own capacity and as parent and
 next friend of MADELINE PARTAIN; LETA CAPLINGER;
 ADAM WEBB; ARKANSAS LIBRARY ASSOCIATION;
 ADVOCATES FOR ALL ARKANSAS LIBRARIES;
 PEARL’S BOOKS, LLC; WORDSWORTH COMMUNITY
 BOOKSTORE LLC d/b/a WORDSWORTH BOOKS;
 AMERICAN BOOKSELLERS ASSOCIATION;
 ASSOCIATION OF AMERICAN PUBLISHERS, INC.;
 AUTHORS GUILD, INC.; COMIC BOOK LEGAL DEFENSE
 FUND; and FREEDOM TO READ FOUNDATION                                                       Plaintiffs

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 CRAWFORD COUNTY, ARKANSAS;
 CHRIS KEITH, in his official capacity as Crawford County Judge;
 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;
 MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA HOWELL;
 BEN HALE; CONNIE MITCHELL; DAN TURNER; JANA BRADFORD;
 FRANK SPAIN; TIM BLAIR; KYLE HUNTER; DANIEL SHUE;
 JEFF ROGERS; DAVID ETHREDGE; TOM TATUM, II; DREW SMITH;
 REBECCA REED MCCOY; MICHELLE C. LAWRENCE;
 DEBRA BUSCHMAN; TONY ROGERS; JOSHUA ROBINSON;
 CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and
 CHUCK GRAHAM, each in his or her official capacity as
 a prosecuting attorney for the State of Arkansas.                                        Defendants


           PLAINITFF HAYDEN KIRBY’S UNOPPOSED MOTION TO DISMISS

       Plaintiff Hayden Kirby, pursuant to Rule 41(a) 2 of the Federal Rules of Civil Procedure,

files this unopposed motion for dismissal as a plaintiff in this case. In support of this motion,

Plaintiff Kirby states the following:

       1. She is graduating in June of this year from Little Rock Central High School, and will be


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           out of state this summer and attending college in the fall. Accordingly, she no longer

           has the time nor opportunity to devote to her obligations as a plaintiff in this lawsuit.

       2. Her dismissal will not affect either the progress nor outcome of this matter as there are

           other plaintiffs who are able to and will assert the same interests as Plaintiff Kirby.

       3. Her request to be dismissed from this case is unopposed by all other parties to this case.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Hayden Kirby respectfully requests

that this Court issue an order dismissing her from this case.

         Submitted this 25th day of March, 2024


                                               /s/Bettina E. Brownstein
                                               Bettina E. Brownstein
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                                               Attorney for Plaintiffs Hayden Kirby,
                                               Leta Caplinger, and Mel Partain in her
                                               own Capacity and as Mother and Next
                                               Friend of Madeline Partain.



                                     CERTIFICATE OF SERVICE

         I, hereby certify that on this 25th day of March, 2024, I served the foregoing on all counsel
of record via e-mail.


                                                                /s/Bettina E. Brownstein




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